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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:23-CR-00150 DJC
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   MARCUS MILLER,                                      DATE: January 18, 2024
     REGINALD JONES,                                     TIME: 9:00 a.m.
15   JIMMY VAN II, and                                   COURT: Hon. Daniel J. Calabretta
     JAZZMINE CAMPBELL,
16
                                  Defendants.
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18
                                                STIPULATION
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            1.      This matter was set for status conference before the Honorable Daniel Calabretta on
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     January 18, 2024. ECF No. 51. Time has been excluded through and including January 18, 2024, as to
21
     all of the above-captioned defendants. Id.
22
            2.      By this stipulation, the government and defendants Marcus Miller, Reginald Jones,
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     Jimmy Van II, and Jazzmine Campell (“the parties”) request to set a status conference on April 11,
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     2024, and to exclude time between January 18 and April 11, 2024, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     Discovery associated with this case and produced to date includes reports,
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            photographs, and other digital evidence which has been either produced directly to counsel
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            and/or made available for inspection and copying.
      STIPULATION REGARDING EXCLUDABLE TIME             1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                  b)     The government has additional discovery to produce and/or make available

 2          additional discovery that is voluminous and includes reports, subpoena returns, social media

 3          evidence, and other digital evidence.

 4                  c)     Counsel for the defendants Miller, Jones, Van II and Campbell desire additional

 5          time to consult with their respective clients, review the current charges, conduct investigation

 6          and research related to the charges, to review and copy discovery for this matter, and to

 7          otherwise prepare for trial. Counsel for the defendants believe that the failure to grant the above-

 8          requested continuance would deny them the reasonable time necessary for effective preparation,

 9          taking into account the exercise of due diligence.

10                  d)     The government joins the request to continue.

11                  e)     Based on the above-stated findings, the ends of justice served by continuing the

12          case as requested outweigh the interest of the public and the defendant in a trial within the

13          original date prescribed by the Speedy Trial Act.

14                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15          et seq., within which trial must commence, the time period of January 18, 2024, to and including

16          April 11, 2024 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

17          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

18          of the Court’s finding that the ends of justice served by taking such action outweigh the best

19          interest of the public and the defendant in a speedy trial.

20          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

21 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

22 must commence.

23          IT IS SO STIPULATED.

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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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 1   Dated: January 15, 2024                       PHILLIP A. TALBERT
                                                   United States Attorney
 2
                                                   /s/ ALEXIS KLEIN
 3                                                 ALEXIS KLEIN
                                                   ROSS PEARSON
 4                                                 Assistant United States Attorneys
 5
     Dated: January 15, 2024                       /s/ LINDA HARTER
 6                                                 LINDA HARTER
                                                   Counsel for Defendant
 7                                                 MARCUS MILLER
 8
     Dated: January 15, 2024                 By: /s/ DAVID FISCHER
 9                                               DAVID FISCHER
                                                 Counsel for Defendant
10                                               REGINALD JONES
11

12   Dated: January 15, 2024                 By: /s/ TASHA CHALFANT
                                                 TASHA CHALFANT
13                                               Counsel for Defendant
                                                 JIMMY VAN II
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15   Dated: January 15, 2024                 By: /s/ KYLE KNAPP
                                                 KYLE KNAPP
16                                               Counsel for Defendant
                                                 JAZZMINE CAMPBELL
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     STIPULATION REGARDING EXCLUDABLE TIME     3
     PERIODS UNDER SPEEDY TRIAL ACT
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 1                                                   ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court vacates the

 4 January 18, 2024, status conference and resets the matter for a status conference on April 11, 2024, at

 5 9:00 a.m, as to defendants Miller, Jones, Van II, and Campbell. The Court also finds that based on the

 6 facts set forth in the parties’ stipulation, the failure to exclude time between January 18, 2024 and April

 7 11, 2024, would deny counsel reasonable time necessary for effective preparation, taking into account

 8 the exercise of due diligence. The Court further finds that the ends of justice served by the continuance

 9 outweigh the best interests of the public and the defendant in a speedy trial. Time from January 18,

10 2024, to and including April 11, 2024, is excluded from the computation of time within which the trial

11 of this case must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

12 (B)(iv), and Local Code T-4, as to defendants Miller, Jones, Van II, and Campbell.

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14          IT IS SO FOUND AND ORDERED this 16th day of January 2024.

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                                                             /s/ Daniel J. Calabretta
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                                                             THE HONORABLE DANIEL J. CALABRETTA
17                                                           UNITED STATES DISTRICT JUDGE

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      STIPULATION REGARDING EXCLUDABLE TIME              4
      PERIODS UNDER SPEEDY TRIAL ACT
